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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-1661-WJM-MEH
  Consolidated with 17-cv-1679-WJM-MEH

  SIERRA CLUB; ELYRIA AND SWANSEA NEIGHBORHOOD ASSOCIATION; CHAFFEE
  PARK NEIGHBORHOOD ASSOCIATION; and COLORADO LATINO FORUM,

  Plaintiffs,

  v.

  FEDERAL HIGHWAY ADMINISTRATION, ELAINE CHAO, in her official capacity as
  Secretary of Transportation; and JOHN M. CARTER, in his official capacity as Division
  Administrator, Defendants,

  v.

  COLORADO DEPARTMENT OF TRANSPORTATION, and SHAILEN P. BHATT, in his
  official capacity as Executive Director of the Colorado Department of Transportation,

  Defendant-Intervenors.
                           PETITIONER'S MOTION TO SUPPLEMENT
                               THE ADMINISTRATIVE RECORD
                                 (Case No. 17-cv-1679-WJM-MEH)

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                                          INTRODUCTION

         Petitioners Sierra Club, Elyria and Swansea Neighborhood Association, Colorado Latino

  Forum, and Chaffee Park Neighborhood Association (collectively “Petitioners”) move to

  supplement the Administrative Record (“AR” or “Record”) filed in this case. The Federal

  Highway Administration (“FHWA”) and Defendant-Intervenors, Colorado Department of

  Transportation (“CDOT”) (collectively “Defendants”) oppose this motion.
        Petitioners seek to add expert testimony and peer-reviewed scientific studies as evidence

  that Defendants failed to examine relevant evidence and consider relevant factors in this

  decision, and to provide expert explanations of highly complex technical matters to aid the Court

  in understanding what Defendants did or failed to do.

                                            ARGUMENT

     The Attached Documents are Relevant to Petitioners’ Health Claims and Necessary to
       Establish FHWA’s Failure to Consider Relevant Factors Such as Health Impacts.
         The extra-record materials submitted with this motion qualify under recognized

  exceptions to supplement the Record because they contain or explain evidence and/or factors

  relevant to the agency decision that Defendants did not consider before issuing the Record of

  Decision approving the I-70 East Phase 1 (Central) Project (“Project”). An action that fails to

  consider “relevant factors,” or “relevant evidence,” is arbitrary and capricious.

         A court's review under “Section 706(2)(A) [of the APA] requires a finding that the actual
         choice made was not ‘arbitrary, capricious, an abuse of discretion, or otherwise not in
         accordance with law.’ 5 U.S.C. §706(2)(A). To make this finding the court must consider
         whether the decision was based on a consideration of the relevant factors and whether
         there has been a clear error of judgment.” Overton Park, 401 U.S. at 416…. The agency
         must have examined the relevant data and articulated a rational connection between the
         facts found and the decision made, supported by substantial evidence in the record. Motor
         Vehicle Mfrs. Ass'n v. State Farm Mut. I s. Co., 463 U.S. 29, 43 … (1983); Olenhouse v.
         Commodity Credit Corp., 42 F.3d 1560, 1575–76 (10th Cir.1994). Where an agency fails
         to consider evidence relevant to the final decision, its rationale and justification may be
         undermined. By its very nature, evidence which the agency fails to consider is frequently
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           not in the record. Accordingly, in order to allow for meaningful, in-depth, probing
           review, such extra-record evidence is often properly included in the Administrative
           Record.
  Ctr. for Native Ecosystems v. Salazar, 711 F. Supp. 2d 1267, 1279-80 (D. Co. 2010). If

  Petitioners allege that an agency failed to consider a relevant factor or failed to examine evidence

  relevant to its decision, they bear the burden to establish that the agency did not consider relevant

  factors or examine relevant evidence. The expert testimony and other materials submitted to
  supplement the AR meet this burden.

           In addition, Petitioners’ claims related to air quality modeling and assessing the health

  impacts of exposure to air pollutants are complex and highly technical. Courts recognize that

  matters involving technical or scientific complexity may require explanation by experts. “NEPA

  imposes a duty on federal agencies to compile a comprehensive analysis of the potential

  environmental impacts of its proposed action, and review of whether the agency’s analysis has

  satisfied this duty often requires a court to look at evidence outside the administrative record.”

  Sierra Club v. Peterson, 185 F.3d 349, 370 (5th Cir.1999). “The omission of technical scientific

  information is often not obvious from the record itself, and a court may therefore need a

  plaintiff’s aid in calling such omission to its attention.” Id. Petitioners also rely on this exception

  to supplement the record with expert testimony intended to assist the Court’s understanding of

  scientific data and technical analysis that explain Petitioners’ claims that Defendants ignored
  relevant factors and did not examine relevant evidence.

           Petitioners’ claims under the National Environmental Policy Act (“NEPA”)1 and the

  Federal-Aid Highway Act (“F-AHA”)2 arise from evidence in the Final Environmental Impact

  Statement’s (“FEIS”) Air Quality Technical Report, FEIS Attachment J 3, showing that exposure

  to fugitive dust will increase 43% by 2035 4 and tailpipe emissions of PM10 will increase 10%

  1
    Petition For Review, Part II, Doc. No. 1
  2
    Petition for Review, Part III, Doc. No. 1
  3
    AR 014442 et seq.
  4
    AR 023511

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  between 2015 and 2035 due to the Project.5 The PM10 air quality modeling analysis in the

  conformity determination shows Project emissions will add at least 41 μg/m3 of PM10, from 113

  μg/m3 to 154 μg/m3.6 Furthermore, carbon monoxide emissions will increase by 14% by 2035. 7

          Defendants violated NEPA and F-AHA by failing to investigate and disclose that

  increased I-70 emissions endanger human health by contributing to increased premature deaths,

  hospitalizations, and asthma onset and attacks, and by failing to consider alternatives and

  mitigation that could avoid or minimize these impacts.8 Defendants have a duty under NEPA to

  investigate, identify and consider project alternatives and mitigation measures that could restore

  and enhance the human environment by reducing exposure to air pollutants, thereby enhancing

  the health of neighborhood residents and students attending schools in the Project area.9

          Defendants acknowledge in section 5.20 of the FEIS10 that air pollution does impact

  community health, but failed to evaluate and report any health impacts that would result from

  increased community exposure to PM, and failed to evaluate any alternatives or mitigation to

  reduce pollutant exposures and improve community health. Instead, Defendants contend, first,

  that because the NAAQS for PM10 and carbon monoxide will be maintained, they may presume

  that increased exposures to traffic pollution will cause no significant human health impacts. By

  relying on this presumption of no significant health impacts, Defendants contend they have no

  obligation to assess health impacts, and “no specific mitigation measures are necessary for the
  project to proceed.”11

          Defendants point to no evidence in the Record that air quality attaining applicable

  NAAQS has “no significant impact on health.” FHWA’s presumption is not founded on


  5
    AR 014533
  6
    AR 004790
  7
    AR 014536
  8
    Petition for Review, Part II, First, Second NEPA Claims. Doc. No. 1
  9
    Petition for Review, Part II, Third NEPA Claim.
  10
     AR 018227 et seq.
  11
     AR 018230

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  evidence. To the contrary, the vast body of scientific research evaluated by the U.S.

  Environmental Protection Agency (“EPA”) when it strengthened the PM2.5 NAAQS in 2009, and

  research published since 2009 in peer-reviewed journals, demonstrates overwhelmingly that

  adverse health outcomes are causally related to pollutants emitted from highways at

  concentrations allowed by the NAAQS. FHWA’s failure to examine scientific evidence of health

  impacts even when PM10 and carbon monoxide NAAQS are attained, is a failure to examine

  relevant evidence of the impacts of Project emissions.

          In addition, Defendant’s failure to examine evidence of harm to health extends to their

  failure to consider impacts on community health from exposure to increased pollution from the

  Project. Defendants’ failure to consider health impacts is a failure to consider a critically

  important NEPA factors and requirements to disclose significant impacts on the environment, 40

  C.F.R. §1502.1, compare alternatives, §1502.14, and determine the mitigation needed to avoid

  adverse impacts, §§1502.14(f), 1502.16(h). The failure to consider health impacts also

  constitutes a failure to consider a critically important factor relevant to the final determination of

  whether the Project is “in the best overall public interest” as required by 23 U.S.C. §109(h).

  Petitioners move to supplement the Record with expert testimony to establish that Defendants

  failed to examine evidence relevant to determining impacts on human health from increased

  exposure to air pollutants emitted from the Project.

          1.   Declaration of Dr. George D. Thurston, “The Adverse Human Health Effects of
               Traffic Related Air Pollution” (attached as Exhibit 28).
          To meet their burden to establish that FHWA did not examine relevant evidence of

  significant harm to human health linked to pollutant exposures or consider significant impacts on

  human health, Petitioners submit expert testimony from Dr. George D. Thurston, Professor of

  Environmental Medicine at the New York University School of Public Health. 12

  12
    Exhibit 28 was submitted in support of Petitioners’ Motion for Stay (ECF 88) to establish facts necessary to show
  that Petitioners’ members will suffer irreparable harm from construction emissions and provide evidence that

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           In his report, Dr. Thurston reviews data analyzed by EPA in its last assessment of the

  health effects of PM 13 showing that EPA acknowledged the NAAQS was not set to prevent all

  adverse health effects. He also analyzes research in forty-two journal articles published since

  2009 supporting the conclusion that “adverse health risks caused by exposure to PM and the

  mixture of gaseous and vapor co-pollutants from traffic-related sources will increase if exposures

  to these pollutants are increased,” and “increasing exposures to PM10 and PM2.5 at levels below

  the NAAQS will increase both the incidence of asthma attacks and asthma onset in the

  community, increase personal risk for those already diagnosed with asthma, and increase risk of

  suffering acute effects and mortality from cardiovascular disease.” Dr. Thurston explains that

  exposure to increased concentrations from construction and future vehicle emissions will cause

  greater health risks and adverse health outcomes – even if the NAAQS are met.

           Dr. Thurston analyzed data and relied on research studies (see the bibliography to his

  testimony), that are published and available evidence of adverse health impacts that Defendants

  failed to examine. Given the magnitude of consequences for community residents, failure to

  examine this evidence is arbitrary and capricious.

           2. Published Peer-Reviewed Evidence Relevant to Determining Adverse Impacts on
              Health from Increased Exposure, and Benefits to Community Health from
              Reduced Exposure to Highway Pollution (attached as Exhibit 31).

           In addition to Dr. Thurston’s testimony and the journal articles he reference, Petitioners

  submit health effects research published in peer-reviewed journals listed and summarized in

  Exhibit 31. This research was not discussed by Dr. Thurston in his testimony, but these articles

  include additional data relevant to determining the health consequences of increased exposure to




  Petitioners are likely to prevail on the merits, because Defendants failed to examine evidence relevant to
  determining impacts on health, and failed to consider impacts on health as a relevant factor in their decision to
  approve the I-70 Project.
  13
     Integrated Science Assessment for PM (2009). See Thurston Declaration.

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  pollutants emitted from highways, and the health benefits that can be achieved by reducing

  public exposure to these pollutants.

          3. Declaration of Jonathan Heller, “Health Impact Assessment: A Tool To Support
             Decision Making For Transportation Projects” (attached as Exhibit 34).

          Dr. Heller’s Declaration is submitted to assist the Court’s understanding of the analytical

  principles and procedures implemented in Health Impact Assessments (“HIA”) and the role that

  HIAs can play in helping decision makers understand the health status of communities, how that

  health status may be affected, for the better or the worse, by programs, projects or actions

  proposed by agencies or private actors, and how to assess alternatives or mitigation strategies to

  minimize adverse impacts or restore and enhance community health. His testimony reviews the

  development over the last decade of HIAs as a decision-making tool and its applicability to

  transportation decision making. Notably, Dr. Heller discusses the policies and guidelines adopted

  by FHWA and US DOT that recognize the value of this methodology as a decision-making tool

  and encourage the use of analytical approaches used in HIA’s for decision making in the

  transportation context. These analytical approaches adopted by FHWA and US DOT are highly

  appropriate for assessing health impacts in the I-70 context. Dr. Heller’s testimony explains the

  standard approaches and methods for data collection and analysis normally applied when

  performing an HIA to assess health impacts. These standard approaches and methods were
  defined and understood by HIA practitioners, the U.S. DOT and FHWA at the time the I-70

  Project’s SDEIS and FEIS were being prepared. These approaches were available to Defendants

  when the Sierra Club, in public comments on the SDEIS and FEIS, requested an HIA be done as

  part of the review of I-70 Project impacts and evaluation of alternatives and mitigation.

          Dr. Heller’s testimony qualifies to supplement the Record on three grounds. First, HIA

  analytical methods define the type, scope and scientific rigor of the evidence relevant to

  assessing the health impacts of a transportation project. Dr. Heller describes and defines the


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  evidence relevant to assessing health impacts that Defendants omitted from the NEPA review of

  the I-70 Project. Second, his testimony identifies the factors relevant to assess health, including

  the need to establish a baseline health status for the affected community, how that baseline status

  will be affected by the Project, and how mitigation measures can be applied to avoid adverse

  impacts and improve health status. Third, many aspects of an HIA’s assessment of health

  impacts are not simple or inherently self-evident components of decision-making. Dr. Heller’s

  testimony is also submitted to help the Court understand how the scope of data collection and

  policy analysis by using the HIA framework satisfies the impact analysis required by NEPA.

             4. Declaration of Dr. Gregory Rowangould, “Modeling PM2.5 Emissions from
                Phase 1 of the I-70 Central Project” (attached as Exhibit 33).

             Petitioners’ Eighth NEPA Claim alleges that Defendants failed to consider the health

  impacts of increased community exposure to fine particles smaller than 2.5 µm in diameter,

  regulated by the NAAQS for PM2.5.14 Commenters requested that Defendants model PM2.5

  emissions from the Project as prescribed by EPA guidance for determining whether highway

  emissions will violate the NAAQS. Commenters also asserted that the impact of PM2.5

  emissions is a “significant impact,” as defined by 40 C.F.R. § 1502.27(b)(10), because the

  emissions inventory disclosed in the SDEIS showed that total PM2.5 emissions (i.e., tailpipe plus

  fugitive road dust) would increase over the life of the Project, that increasing PM10 emissions
  had been modeled and were expected to nearly exceed the NAAQS for PM10, and that

  monitoring data obtained near the Mousetrap showed significantly higher PM2.5 than other

  monitors in the metro area not located near a heavily trafficked highway.15 Together, these facts

  demonstrate that the Project “threatened” to violate the NAAQS, which triggered the obligation

  to use credible scientific modeling to investigate whether the Project would violate the NAAQS.

  NEPA regulations require that compliance with the NAAQS must be demonstrated using the

  14
       40 C.F.R. §50.13.
  15
       Sierra Club Comments on SDEIS, FEIS, Attachment Q, p. S-117, S-120-122 (AR )

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  scientific methods required under the Clean Air Act because an EIS “shall state how alternatives

  … will or will not achieve the requirements of … other environmental laws and policies.” 40

  CFR § 1502.2(d). Whether highway emissions will or will not achieve the NAAQS for PM2.5

  can only be determined by applying the emissions and air quality models and procedures

  prescribed under the Clean Air Act for making that determination.

             Modeling using prescribed procedures is also required to determine the magnitude of a

  violation since the evaluation of mitigation measures depends on the amount of emission

  reduction needed to avoid the violation. Knowing the magnitude of the increased pollutant

  exposure that will be suffered by the community is also relevant to assessing the mitigation

  needed to avoid or eliminate adverse health impacts.

             FHWA acknowledged that compliance with the PM2.5 NAAQS cannot be determined

  by:
             extrapolating the existing ratio of PM2.5 to PM10 to other scenarios in an effort to
             predict violations of the NAAQS is not scientifically valid, as particulate emissions in
             different size fractions come from multiple different sources, not all of which vary at the
             same rate with changes between build alternatives or traffic loads. 16
  But FHWA did exactly that: they applied no other methodology for determining whether

  emissions will violate the NAAQS. Instead they assumed compliance for PM2.5 because PM10

  allegedly complied with the less protective NAAQS for PM10.

             To meet Petitioners’ burden to establish that Defendants failed to consider a relevant

  factor, i.e., violation of the PM2.5 NAAQS, and failed to consider evidence relevant to

  determining a possible NAAQS violation and the emission reductions needed for mitigation,

  Petitioners employed Dr. Gregory Rowangould, a published air quality modeling expert, to

  model future PM2.5 emissions expected from the Project. Using the exact same EPA-approved

  models, the same future year traffic estimates, wind data inputs and assumptions used by FHWA

  when it modeled the I-70 Project for PM10, Dr. Rowangould shows that Project emissions are

  16
       FEIS, Attachment Q, Response to Comment B1, p. S- 120.

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   expected to violate the 24-hour NAAQS for PM2.5. This modeling shows what FHWA would

   have found had it performed the modeling procedures required by EPA to estimate Project

   impacts on NAAQS compliance.

           Dr. Rowangould’s testimony and report provide relevant evidence showing the Project’s

   impact on NAAQS compliance that FHWA did not, but should have, considered during its

   review of the Project. This evidence demonstrates that FHWA failed to fulfill its obligation

   under 40 C.F.R. §1502.22 to obtain “information relevant to reasonably foreseeable significant

   impacts….” In addition, this evidence demonstrates that FHWA disregarded an important factor,

   i.e., NAAQS compliance, relevant to assessing Project environmental impacts, and that it failed

   to honor its obligation under §1502.24 to “insure … the scientific integrity of the discussions and

   analyses in environmental impact statements.” By not using EPA-approved modeling tools to

   assess impacts on air quality standards set to protect the environment, FHWA also failed to

   obtain the evidence relevant to estimating increased public exposure to a deadly pollutant that

   will have serious impacts on community health. For these reasons, Dr. Rowangould’s report on

   PM2.5 should supplement the record.

           Finally, Dr. Rowangould’s report provides the Court a detailed explanation of highly

   technical matters related to EPA’s procedures for assessing the impact of highway emissions on

   air quality. These are matters not likely to be easily understood by any lay person not trained in
   air quality modeling without analysis and explanation by a qualified expert. See Sierra Club v.

   Peterson, 185 F.3d at 370, supra.
          5. Declaration of John Brink, “Estimates of Fugitive Dust Emissions from
              Construction Activities for the I-70 East Phase 1 Expansion Project” (attached
              as Exhibit 35).
           In his report, Mr. Brink provides evidence relevant to showing what impact fugitive dust

   emissions from construction activities will likely have on community exposure to PM10 during

   the construction phase of the Project. Mr. Brink, an experienced former EPA environmental


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   analyst, applies EPA guidance for estimating fugitive dust emissions from highway construction

   to data obtained from the NEPA record and the I-70 Project website to estimate total fugitive

   dust emissions (construction plus traffic emissions) from I-70 during the construction phase. Mr.

   Brink demonstrates that total dust emissions during construction will exceed by 12% the fugitive

   dust emissions expected from traffic in 2035. The future traffic emissions of fugitive dust were

   used by FHWA in the PM10 air quality modeling analysis performed for the conformity

   determination which showed that the NAAQS for PM 10 would be attained by less than 1 µg/m3.17

   Increasing fugitive dust by 12% creates the high probability that the NAAQS will be violated

   during construction thereby exposing nearby residents to significantly greater health risks.

           This evidence is relevant to Petitioners’ claim that FHWA failed to consider the impacts

   of Project emissions on community health, and failed to identify mitigation sufficient to avoid

   adverse health impacts. This evidence qualifies for admission to supplement the record for the

   same reasons argued for admission of Dr. Rowangould’s report of modeling PM2.5 emissions.

           6. Declaration of Dr. Gregory Rowangould, “Report of Investigation of Modeling
              Results for Receptor Locations Selected for Modeling Emissions of PM10 From
              the I-70 Central Project” (attached as Exhibit 32).

           Dr. Rowangould’s declaration is relevant to Petitioners’ Clean Air Act claims challenging

   the determination that emissions of PM10 from the Project “will not (i) cause or contribute to a
   new violation of any standard in any area,” as required by 42 U.S.C. §7506(c)(1)(B). 18 During

   the comment period on the draft conformity determination and before submitting its detailed

   comments, the Sierra Club requested documentation of all data used to make the determination:
        The hot-spot analysis contained in the Draft Air Quality Conformity Technical Report
        posted on the I-70 Central website on December 16, 2016, (“Draft Conformity
        Report”) contains dramatically different results for both emissions from the proposed
        Project and the background data used to determine the “design value” for

   17
      For details regarding the modeling results for PM10, see Declaration of Dr. Gregory Rowangould, “Report of
   Investigation of Modeling Results for Receptor Locations Selected for Modeling Emissions of PM10 From the I-70
   Central Project” (Petitioners’ Exhibit 32).
   18
      See Petition for Review, Part IV.

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              PM10 compared to the results published in the Air Quality Technical Report published
              as Attachment J to the Final Environmental Impact Statement in January,
              2016. These differences are so large that they draw into question the credibility of
              the latest hot-spot analysis. The credibility of the current analysis is especially suspect
              in view of the failure to provide any of the underlying data used to obtain
              these results, and the failure to offer any rational explanation for the differences.19

   Among other things, the Sierra Club requested:

                  4) Comparative plots showing the changes in receptor locations that were offered as
                     an explanation in the NEPA comparison report as accounting for some of the
                     change in the ambient impact of Project emissions between the 2035 and 2040
                     modeling runs.

   In its comments (filed on the deadline for comment), the Sierra Club renewed its request for an

   explanation:
          Full and comprehensive disclosure is especially important in situations such as this where
          the results from one analysis to the next is so fundamentally different. Despite the
          acknowledgement that traffic will increase between 2035, which was the analysis year for
          the last analysis, and 2040, which is the analysis year for this analysis, the ambient
          impact of emissions is predicted to decrease from 61 ug/m3 to 41 ug/m3, a 34% decrease.
          In addition, the latest NEPA report claims that the emissions inventory has not changed.
          The NEPA report issued with the proposed conformity determination states, at 2, that
          Items not updated in this document include the emissions inventory of health-based
          National Ambient Air Quality Standards (NAAQS). *** If emissions from the project did
          not change, then some explanation is necessary to inform the public and decisionmakers
          about the ambient impact of the same emissions could have decreased by 34%. 20

              Citizen commenters who asked for explanations of how the agencies reached their
              conclusions, received responses from Vanessa Henderson [CDOT] such as the following:

                      The model data is being provided upon request. Please let me know if you would
                      like me to send it to you; note that the files are large and a lot of them require
                      modeling software to open. I just want to verify that you are able to accept them
                      through your email before I send the files.

              The Sierra Club and other commenters received the data files without any explanation of
              how the data was derived or modified since the 2035 modeling analysis was performed.
              To assist in understanding how the raw data might address questions raised in the
              Request for Documentation, the Sierra Club sought the assistance of experts to evaluate

   19
        ROD, Attachment F, p. 62.
   20
        ROD, Attachment F, p.269.

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           the limited data files provided after the Request for Documentation was submitted.
           Commenters received the following response explaining that CDOT did not provide
           enough information for anyone to understand the basis for the differences between the
           2035 and 2040 analyses:

                    … although CDOT has provided technical model files (AERMOD dispersion,
                    MOVES emission factors, speeds, truck percentages, etc.), this data does not
                    clearly explain changes from the FEIS AQ analysis. One would have to perform
                    an in-depth technical review in order to answer key critical questions about
                    differences in the new analysis.21

   No response to this request was forthcoming. As a result, persons and groups affected by the

   decision were forced to invest extremely limited resources to employ an independent modeling

   expert with the experience to open the modeling data files and make sense of how the modeling

   had been performed.

           Dr. Rowangould’s declaration and report are the result of that investigation. See Exhibit

   32. Dr. Rowangould, an expert in modeling the impact of highway emissions on air quality,

   found that the agencies had applied one primary modeling procedure to determine the impact of

   Project emissions at over 3,200 receptor locations, but followed a different procedure to model

   the concentrations at the seven receptor locations where emissions would be highest.22 In an

   effort to understand why these seven receptor were modeled separately, Dr. Rowangould ran the

   primary modeling procedure for all receptors, and discovered that emissions would violate the
   NAAQS at five of the seven receptors separately modeled. 23

           None of this information was disclosed in the ROD, Air Quality Conformity Technical

   Report. After a comprehensive search of the record, Petiitoners’ counsel have found no

   documents in the AR that disclose to the decisionmaker that these different modeling procedures

   were applied to obtain different results from different receptors, or why. Before filing this


   21
      ROD, Attachment F, p. 271.
   22
      Rowangould, “Report of Investigation of Modeling Results for Receptor Locations Selected for Modeling
   Emissions of PM10 From the I-70 Central Project,” pp. 8-9.
   23
      Id., p. 10.

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   motion, counsel requested that FHWA search for any documents explaining these procedures

   that might have been omitted from the AR. Government counsel stated that no documents have

   been identified that contain such an explanation.

           Dr. Rowangould’s report qualifies for admission as a supplement to the Record on

   numerous grounds. First, this report must be included in the Record for anyone, including the

   Court, to understand what the agencies did, since they provided no explanation in the Record.

   Second, the results of Dr. Rowangould’s independent modeling of Project emissions demonstrate

   that Defendants failed to disclose, examine, and consider evidence relevant to the conformity

   determination, to wit, modeling results that show Project emissions will cause a violation of the

   NAAQS if standard modeling procedures prescribed by EPA are applied. Furthermore, this

   report will assist the Court’s and public’s understanding of highly complex technical issues.

           Dr. Rowangould’s report also demonstrates that Petitioners were severely prejudiced by

   FHWA’s failure to “provid[e] reasonable public access to technical and policy information

   considered by the agency at the beginning of the public comment period,” as required by EPA’s

   Hot-spot conformity rule. 40 C.F.R. §93.105(e). 24 In addition, EPA’s Hot-spot conformity

   Guidance requires that information needed to support a conformity finding be included in

   documentation by the transportation agency making the conformity determination. Hot-spot

   Guidance, §3.10.25 The Guidance specifically lists “Air quality modeling data, including the air
   quality model used, modeling inputs and results, and description of the receptors employed in the

   analysis.” FHWA violated §93.105(e) of the Hot-spot conformity rule by failing to disclose prior

   to publishing the notice commencing the public comment period the “technical and policy


   24
      The D.C. Circuit Court of Appeals has construed the congressional delegation of rulemaking
   authority to EPA by 42 U.S.C. §7506(c)(4)(B) as establishing “the unqualified requirement in the
   statute that the federal government not approve a transportation activity unless that activity has
   complied with the conformity rules.” Sierra Club v. EPA, 129 F.3d 137, 140 (D.C. Cir. 1997).
   25
      See https://www3.epa.gov/otaq/stateresources/transconf/documents/420b15084.pdf.
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   information considered by the agency,” including the multiple modeling procedures, the use of

   different inputs for different receptors, and how the different procedures conform to, or diverge

   from EPA’s modeling guidance. Rational decision-making and a meaningful public comment

   opportunity require disclosure and an explanation why Defendants used different procedures.

           Dr. Rowangould’s report is relevant to Petitioners’ claim that Due Process and the right

   to public involvement guaranteed by the Hot-spot conformity rule must be enforced by

   remanding the decision to re-open the comment period so that the affected public has an

   opportunity to object to this modeling procedure on the record.

            7. Declaration of Albert Melcher: [INSERT TITLE OF ATTCHMNT] (attached as
               Exhibit 36).

           Mr. Melcher’s declaration contains notes from the September 1, 2015 meeting at the

   Colorado FHWA Division Office, during which Sierra Club representatives and former Attorney

   General JD MacFarlane presented concerns about the I-70 Project NEPA review to John Cater

   and FHWA staff. FHWA did not include notes of this meeting in the Record. Mr. Melcher’s

   notes provide evidence that concerns were communicated to the FHWA decisionmaker regarding

   the severity of public health impacts being suffered by residents in the Globeville, Elyria and

   Swansea neighborhoods, and the need to invest substantial federal resources in protecting these

   communities from even more serious health impacts in the future as exposure to highway
   pollutants increase. Sierra Club representatives expressed their concern that CDOT had failed to

   investigate, disclose, consider, avoid and minimize the adverse health effects suffered by

   residents along the I-70 corridor, and asked FHWA to exercise its oversight responsibilities to

   ensure that alternatives and mitigation to protect residents were adopted and implemented.

           The issues raised at this meeting and FHWA’s failure to respond or otherwise address

   these issues, is additional evidence that FHWA failed to consider a relevant factor by not giving

   meaningful consideration to Project impacts on public health.


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             8. Colorado Department of Transportation’s Response to Request Under the
                Colorado Open Records Act for Documents Related to the Environmental
                Review of the I-70 Central Project, March 4, 2016. (attached as Exhibit 37).

           Petitioners served a request on CDOT under the Colorado Open Records Act. The request

   asked CDOT for information regarding various air quality concerns related to the Project. First,

   Petitioners asked for information related to any investigation of the expected concentrations of

   PM2.5 in the Project area. CDOT admits that nothing beyond an “emissions inventory” was

   completed for PM2.5.

           Second, Petitioners asked for original scientific investigation into the potential air quality

   and public health benefits of alternatives that would reduce traffic. CDOT acknowledges that

   “none of [the 90+ alternatives considered] was evaluated or assessed for air quality or health

   impacts.” Further, “[n]o original evaluation was completed for health.”

           Third, Petitioners asked for any reviews of scientific literature discussing the causal

   connections between exposure to PM2.5 as a result of the Preferred Alternative and adverse

   health incomes. CDOT stated that “No investigation, evaluation, or review of literature was

   conducted specific to north Denver neighborhoods, the Preferred Alternative, and health.”

           This CORA request and CDOT’s response is not in the Record. Similar to many of the

   documents above, this evidence is relevant to Petitioners’ claim that FHWA failed to consider

   the impacts of Project emissions on community health and failed to identify mitigation sufficient
   to avoid adverse health impacts.
                                                 CONCLUSION

           For the reasons set forth above, Petitioners respectfully request that the Court grant this

   motion to supplement the Record.




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   Dated: March 9, 2018                                Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE WITH D.COLO.LCivR 7.1(a)

          Pursuant to D.COLO.LCivR 7.1(a), counsel for the Petitioners has conferred with
   counsel for FHWA and CDOT regarding the substance of this motion. FHWA and CDOT
   oppose the relief requested herein.

                                                                 /s/ Gregory N. Corbin
                                                                 Gregory N. Corbin

                                       CERTIFICATE OF SERVICE

           I hereby certify that on this 9th day of March, 2018, I filed a true and accurate copy of the
   foregoing with the Clerk of Court via the CM/ECF system, which provided immediate electronic
   notice of the same to all counsel of record, as indicated below.

                                                                 /s/ Gregory N. Corbin
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